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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

DALLAS DIVISI()N
lN RE: DEPUY ORTHOPAEDICS, )
]NC. PINNACLE HIP lMPLANT )
PRODUCTS LIABILH`Y LlTIGATK)N ) l\/IDL DOCKET NO. 3: l 1-md-2244-K
)
This document relates to: ) Civil Action No.:
)
CRYSTAL RUEB, )
) COMPLAlNT FOR DAMAGES AND
Plaintiff, ) JURY DEMAND
)
v. )
)
DEPUY ORTHOPAEDICS, lNC.; )
JOHNSON & JOHNSON SERVICES, INC.;)
JOHNSON & JOHNSGN, INC.; and D()ES )
l-lO, inclusive, )
)
Defendants. )

 

Plaintiff CRYSTAL RUEB, by and through undersigned Counsel, and for her Cornplaint
against DEPUY ORTHOPAEDICS, lNC, JOHNS ON AND JOHNS ON SERVICES, lNC. and
`JOHNSON AND JOHNS ON, INC., and DOES l-lO, INCLUSIVE (hereinafter “defendants”),
allege as follows:

NATURE OF THE CASE

This product liability case is the result of a failed, untested and unapproved hip implant

that Was designed, manufactured, and sold by the defendants and irnplanted in Plaintiff

CRYSTAL RUEB (hereinafter “plaintift”).

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PARTIES

l. Plaintiff is a resident of the City of Selby, Walworth County, and is a citizen of
the State of South Dal<ota, residing at 2810 Lincoln Avenue, Selby, South Dakota 57472.

2. Defendant DEPUY ORTHOPAEDICS, ]NC. is, and at all times relevant to this
Complaint Was, an Indiana corporation With its principal place of business at 700 Orthopedic
Drive, Warsaw, Indiana, and is therefore deemed to be a citizen of the State of lndiana.

3. At all times relevant to this Complaint, DEPUY ORTHOPAEDICS, lNC.
designed, manufactured, tested, marketed, distributed and sold the metal-on-metal Pinnacle Hip,
either directly or indirectly, to customers throughout the United States, including the plaintiff

4. Defendant JOHNS ON & JOHNS ON SERVICES, lNC., the parent company of
DEPUY ORTHOPAEDICS, lNC. is, and at all times relevant to this Complaint Was, a NeW
Jersey corporation With its principal place of business at One Johnson & Johnson Plaza, NeW
Brunswick, New lersey, and is therefore deemed to be a citizen of the State of NeW Jersey.

5. At all relevant times to this Complaint JOHNSON & JOHNS ON, SERVICES,
lNC., as the parent of DEPUY ORTHOPAEDICS, lNC., designed, manufactured, tested,
advertised, marketed, distributed and sold the metal-on-metal Pinnacle Hip, either directly or
indirectly, to customers throughout the United States, including the plaintiff

6. Defendant JOHNS ON & JOHNS ON, INC. is, and at all times relevant to this
Complaint was a NeW Jersey corporation With its principal place of business at One Johnson &
Johnson Plaza, NeW Brunswick, New Jersey, and Was the parent company of DEPUY
()RTHOPAEDICS, INC.

7. At all relevant times to this Complaint, defendant JOHNSON & JOHNSON,

lNC., as the parent company of DEPUY ORTHGPAEDICS, lNC., designed, manufactured,

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tested, advertised, marketed, distributed and sold the metal-on~metal Pinnacle Hip, either directly
or indirectly, to customers throughout the United States, including the plaintiff

8. Plaintiff is unaware of the true names and capacities, whether individual,
corporate, associate, or otherwise, of defendants DOES l~lO, inclusive, or any of them, and
therefore sues these defendants, and each of them, by such fictitious names Plaintiff will seek
leave of this Court to amend this Complaint when the status and identities of these defendants are
ascertained

9. At all times relevant herein, defendants were the agents of each other, and in
doing the things alleged herein, each defendant was acting within the course and scope of its
agency and was subject to and under the supervision of its co-defendants.

JURISDICTION AND VENUE

lO. Jurisdiction over this action exists under 28 U.S.C. §1332(a), based on diversity
of citizenship and an amount in controversy that exceeds $75,000 exclusive of interest and costs.

ll. Venue in this action properly lies in this judicial district pursuant to 28 U.S.C.
§139l(a) and (c), because a substantial number of events, actions or omissions giving rise to
plaintiff’s claims occurred in the State of South Dakota and this District.

l2. But for the pending Multidistrict Litigation related to the product that is the
subject of this litigation, venue over this action would lie in the U.S. District Court District of
South Dakota.

13. Venue is proper in this District pursuant to Case Management Order No. l,
entered on the 29th day of June 20l l, in this action [MDL Docket 3: l l~MD-2244-K], Document
#20, which provides, in part: j

In order to eliminate delays associated with the transfer of cases in
or removed to other federal district courts to this Court, and to

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promote judicial efficiency, any plaintiff whose case would be
subject to transfer to MDL 2244 may file his or her case directly in
the MDL proceedings in the Northern District of Texas.

Upon completion of all pretrial proceedings applicable to a case
filed directly in the Northern District of Texas, this Court may
transfer the case, pursuant to 28 U.S.C. § 1404, to a court of
appropriate jurisdiction for trial, based on the recommendations of
the parties to that case.

FACTUAL BACKGROUND
A. DePuy’s Pinnacle Hip Is Unsafe and Has Not Been Adequately Tested

14. The hip joint is where the femur connects to the
AN"\‘ERI()R Hll’ .l(\lNT

pelvis. The joint is made up of the femoral head (a ball-like mm
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structure at the very top of the femur) rotating within the acetabulum T'-:~‘i
Acc\sbulnr
z ’ Labnm\

(a cup-like structure at the bottom of the pelvis.) In a healthy hip,,

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both the femur and the acetabulum are strong and the rotation of the
bones against each other is cushioned and lubricated by cartilage and arm
fluids.
15. A total hip replacement replaces the body’s natural joint with an artificial one,
usually made out of metal and plastic. A typical total hip replacement system consists of four
separate components: (l) a femoral stem (labeled as “hip

§ mmm,s,z.@; implant” in the diagram to the left), (2) a femoral head, (3) a

§§ Pdvmwom ram
,, Femw.~,mea¢ g 513 plastic (Polyethylenc) liner, and (4) an acetabular shell,

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After the surgeon hollows out a patient’s femur bone, the

femoral stem is implanted. The femoral head is a metal ball

 

that is fixed on top of the femoral stem. The femoral head

 

 

 

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forms the hip joint when it is placed inside the polyethylene liner and acetabular shell.

16. The Pinnacle Hip has a different design, one that puts the metal femoral ball
directly in contact with a metal acetabular liner. The design of the Pinnacle Hip was not
sufficiently tested by the defendants, and it was never approved by the FDA as being safe or
effective for the products’ intended purpose

17. T he Pinnacle Hip is a Class 111 medical device. Class 111 devices are those that
operate to sustain human life, are of substantial importance in preventing impairment of human
health, or pose potentially unreasonable risks to patients.

18. The l\/Iedical Device Amendments to the Food, Drug, and Cosmetics Act of 1938
(“MDA”), in theory, require Class 111 medical devices, including the Pinnacle Hip, to undergo
premarket approval by the FDA, a process which obligates the manufacturer to design and
implement a clinical investigation and to submit the results of that investigation to the FDA.

19. Premarket approval is a rigorous process that requires a manufacturer to submit
what is typically a multivolume application that includes, among other things, full reports of all
studies and investigations of the device’s safety and effectiveness that have been published or
should reasonably be known to the applicant; a full statement of the device’s components,
ingredients, and properties and of the principle or principles of operation; a full description of the
methods used in, and the facilities and controls used for, the manufacture, processing, and, when
relevant, packing and installation of, such device; samples or device components required by the
FDA; and a specimen of the proposed labeling.

20. The FDA may grant premarket approval only if it finds that there is reasonable
assurance that the medical device is safe and effective and must weigh any probable benefit to

health from the use of the device against any probable risk of injury or illness from such use.

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21. A medical device on the market prior to the effective date of the MDA ~ a so-
called “grandfathered” device ~ was not required to undergo premarket approval.

22. In addition, a medical device marketed after the l\/IDA’s effective date may
bypass the rigorous premarket approval process if the device is “substantially equivalent” to a
“grandfathered” pre~MDA device (i.e., a device approved prior to May 28, 1976). This
exception to premarket approval is known as the “510(k)” process and simply requires the
manufacturer to notify the FDA under section 510(k) of the MDA of its intent to market a device
at least 90 days prior to the device’s introduction on the market, and to explain the device’s
substantial equivalence to a pre-MDA predicate device. The FDA may then clear the new device
for sale in the United States.

23. The MDA does not require an FDA determination that the device is in fact,
substantially equivalent to a grandfathered device.

24. lnstead of assuring the safety of the Pinnacle Hip through clinical trials, DePuy
sought to market its Pinnacle Hip without conducting any clinical trials by obtaining FDA
approval under section 510(k). To that end, defendants submitted a section 510(k) premarket
notification of intent to market the Pinnacle Hip.

25. By telling the FDA that the Pinnacle Hip’s design was “substantially equivalent”
to other hip products on the market, DePuy was able to avoid the safety review required for
premarket approval under FDA regulations including clinical trials.

26. The FDA cleared the Pinnacle Hip for sale by means of the abbreviated 510(k)

process and consequently, the FDA did not require the Pinnacle Hip to undergo clinical trials.

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27. The 510(k) notification for the Pinnacle Hip includes only defendant DePuy’s
assertion that it believes the DePuy Pinnacle Hip to be substantially equivalent to devices that
themselves had never been reviewed for safety and effectiveness

28. Significantly, unlike the premarket approval process, the 510(k) notification
process does not call for scrutiny ~ or even clinical testing _ of a device’s safety and
effectiveness

29. A finding of substantial equivalence is not equivalent to a finding of a device’s
safety and effectiveness This point is forcefully underscored by the FDA’s letter to DePuy,
which says nothing about the safety and effectiveness of the Pinnacle Hip; finds only that the
device was “substantially equivalent to devices introduced into interstate commerce prior to May
28, 1976”; and concludes by stressing that the agency’s determination of substantial equivalence
“does not mean that FDA has made a determination that your device complies with other
requirements of the Act or any Federal statutes and regulations administered by other Federal
agencies.”

30. Thus, the FDA’s finding of “substantial equivalence” had nothing to do with
reviewing the Pinnacle Hip’s safety and effectiveness but rather only a determination of
equivalence to devices that themselves underwent no safety and effectiveness review.

31. While most hip replacements use a polyethylene plastic acetabular liner, DePuy’s
Pinnacle Hip has a critical difference: it uses a metal acetabular liner. By using a metal
acetabular liner and a metal femoral ball, the Pinnacle Hip forces metal to rub against metal with
the full weight and pressure of the human body. Because of defendants’ defective design for the
Pinnacle Hip, hundreds of patients have been forced to undergo surgeries to replace the failed hip

implants

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32. Plaintiff believes that the Pinnacle Hip suffers from a similar design or
manufacturing defect that forced DePuy to recall over 93,000 metal-on-metal ASR and ASR XL
hip implants. While the exact nature of the common defect is still being investigated, plaintiff
believes that both hip implants suffer from one or more similar design or manufacturing defects
that cause excessive amounts of cobalt and chromium to wear from the surface of the acetabular
insert or from the femoral head. These cobalt and chromium fragments prompt the body to react
by rejecting the hip implant. This rejection often manifests with symptoms of pain, looseness,
dislocation, and squeaking and popping sounds Inside the hip joint, the metal reaction often
causes fluids to accumulate and soft tissues and bone to die.

B. DePuy Should Have Recalled The Pinnacle Hip Years Ago; Over 1,300 Adverse
Events Related T0 The Pinnacle Hip Have Been Reported

33. lt wasn’t long after DePuy launched the Pinnacle Hip that reports of failures
began flooding into DePuy. For example, on May 4, 2002, DePuy received a complaint that a
patient had to undergo a surgery to remove and replace the hip implant because the liner
disassociated with the cup. DePuy closed its investigation of this complaint, finding that
“corrective action is not indicated.” Two weeks later, on May 17, 2002, DePuy received another
report that another patient had to undergo surgery to remove and replace a defective hip implant
because the acetabular cup had loosened. Again, DePuy closed its investigation of this
complaint, finding that “corrective action is not indicated.”

34. DePuy would go on to receive hundreds of similar complaints reporting that the
Pinnacle Hip had failed due to premature loosening of the acetabular cup and that the failure had
forced patients to undergo painful and risky surgeries to remove and replace the failed hip

component

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35 . To date, DePuy has

Pinnacle Complaints Reported to DePuy

received an astonishing 1,300 reports 1400

1200

associated with Pinnacle Hips. 1000

 

36. Despite its knowledge § 800
§ 600
that the Pinnacle Hip had a defect and 400
200
that it had failed hundreds of times, 0
2001 2002 2003 2004 2005 2006 2007 2008 2009 2010
causing hundreds of patients to Year

 

 

 

undergo the agony of another surgery, DePuy continued to sell the defective hip implant. 1n so
doing, DePuy actively concealed the known defect from doctors and patients_including plaintiff
and plaintiff’s doctor(s)_~and misrepresented that that the Pinnacle Hip was a safe and effective
medical device.

37. DePuy’s reason to conceal the defect in its Pinnacle Hip is clear. 1n 2009 alone,
DePuy brought in more than $5.4 billion in sales Hip implant sales are critically important to
DePuy’s parent company, Johnson & Johnson, and DePuy is one of Johnson & Johnson’s most
profitable business groups 1n 2008, DePuy was faced with a critical defect in one of its hip
implant system. The last thing DePuy wanted to do was to admit that these popular products had
a critical defect that could cause a premature failure, forcing patients to have to undergo another
painful surgery. Focused on corporate profits, and at the expense of patient safety, DePuy
decided that it would not issue an embarrassing recall when it learned of the defects with its
Pinnacle Hip. Moreover, motivated by greed rather than patient safety, DePuy did not even stop
selling the Pinnacle Hip. lnstead, it continued to manufacture the hip implants and it continued

to sell them to unsuspecting patients, including the plaintiff To this day, DePuy continues to sell

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these defective implants to unsuspecting patients without any warning about the risks or the
failures that have been reported to the company.

C. Plaintiff’s Pinnacle Hip Caused Plaintiff to Undergo A Painful And Risky
Surgery.

38. On or around June 6, 2007, plaintiff underwent a surgical procedure at Poudre
Valley Health System in Fort Collins, Colorado, where a DePuy Pinnacle metal-on-metal hip
was implanted in plaintiff’s right side by Roger Sobel, M.D. The following DePuy Pinnacle
components were implanted:

DePuy Size: 52mm
Pinnacle Press-Fit Acetabular Cup

DePuy Orthopaedics, lnc.

P.O. Box. 988

Warsaw, lN 46581

DePuy Size: 36mm
Metal Femoral Head

DePuy Orthopaedics, lnc.

700 Orthopaedic Drive

Warsaw, H\I 46580

DePuy Size: 52mm OD
Pinnacle Metal Liner
DePuy Orthopaedics, 1nc.
700 Orthopaedic Drive
Warsaw, IN 46582
39. Subsequently, plaintiff began to experience adverse symptoms related to her right
hip implant including, but not limited to the following: severe pain and discomfort in and around
her right hip; considerable pain in the anterior medial right hip area; elevated metal ions; and
emotional distress normally expected in an injury of this nature.
40. On March 2, 2014, plaintiff’s right hip was revised at Sanford Medical Center
Fargo in Fargo, North Dakota, by Gary Matthys, M.D. The DePuy Pinnacle metal-on~metal hip

device was removed and replaced with a non metal~on-metal device.

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41. Having to go through an additional surgery/revision has left plaintiff with much
greater risks of future complications than plaintiff had before the revision surgery. For example,
several studies have found that just one revision surgery causes a much higher risk of dislocation
compared with an original hip replacement surgery. ln one study conducted by Charlotte
Phillips and her colleagues at Brigham and Women's Hospital in Boston, 14.4 percent of patients
who underwent a revision surgery suffered from a dislocation compared with 3.9 percent of
patients who underwent an original hip replacement surgery. In other words, hip replacement
patients who have undergone a revision surgery are almost four times more likely to suffer from
a hip dislocation than those who have not. (Phillips CB, et al. lncidence rates of dislocation,
pulmonary embolism, and deep infection during the first six months after elective total hip
replacement American Journal of Bone and Joint Surgery 2003; 85:20~26.)

42. As a direct and proximate result of plaintiff’s defective Pinnacle Hip and the
defendants’ wrongful conduct, plaintiff sustained and continues to suffer economic damages
(including lost wages, medical and hospital expenses), severe and possibly permanent injuries,
pain, suffering and emotional distress As a result, plaintiff has sustained and will continue to
sustain damages in an amount to be proven at trial, but which will far exceed the jurisdictional
minimum of this court.

FIRST CAUSE OF ACTION

(Strict Product Liability)
Against All Defendants

43. Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

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44. Defendants designed, manufactured, promoted, distributed, marketed, and sold
the DePuy Pinnacle Hip, including the Pinnacle acetabular cup, the Pinnacle metal liner, and the
femoral head.

45. At all times material hereto, the DePuy Pinnacle Hip that was designed,
manufactured, promoted, distributed, marketed, and sold by the defendants was expected to
reach, and did reach, prescribing physicians and consumers, including plaintiff, without
substantial change in the condition in which it was sold.

46. At all times material hereto, the DePuy Pinnacle Hip that was designed,
manufactured, promoted, distributed, marketed, and sold by the defendants was in a defective
and unreasonably dangerous condition at the time it was placed in the stream of commerce,
Such condition included, but is not limited to, one or more of the following particulars:

(a) When placed in the stream of commerce, the DePuy Pinnacle Hip
contained manufacturing defects, subjecting plaintiff and others to risks, including the risk that
the acetabular component would not properly grow into the bone, causing the hip system to
prematurely fail and requiring a complex, risky, and painful surgery to remove and replace the
defective product;

(b) When placed in the stream of commerce, the DePuy Pinnacle Hip
contained unreasonably dangerous design defects and was not reasonably safe for the intended
use, subjecting plaintiff and others to risks, including the risk that (l) the acetabular component
would not properly grow into the bone, causing the hip system to prematurely fail and requiring
a complex, risky, and painful surgery to remove and replace the defective product, and (2) the
Pinnacle Hip would fail early and expose plaintiff to the unreasonable risk of toxic metals,

metallosis, and multiple revision surgeries;

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(c) The DePuy Pinnacle Hip was insufficiently tested; and/or

(d) The DePuy Pinnacle Hip was not accompanied by adequate instructions
and/or warnings to fully inform plaintiff or plaintiff’s physicians of the full nature or extent of
the risks associated with its use.

47. Defendants knew or should have known of the dangers associated with the use of
the DePuy Pinnacle Hip, as well as the defective nature of the DePuy Pinnacle Hip. Despite this
knowledge, defendants continued to manufacture, sell, distribute, promote and supply the DePuy
Pinnacle Hip so as to maximize sales and profits at the expense of the public health and safety.
Defendants’ conduct was done in conscious disregard of the foreseeable harm caused by the
DePuy Pinnacle Hip and in conscious disregard for the rights and safety of plaintiff and other
consumers

48. Plaintiff and plaintiff’s physician(s) used the DePuy Pinnacle Hip as directed for
its intended purpose.

49. At all times herein mentioned, the DePuy Pinnacle Hip was defective, and
defendants knew that it was to be used by the user without inspection for defects therein.
Moreover, neither plaintiff nor plaintiff’s physician(s) knew or had reason to know at the time of
the use of the subject products, of the existence of the aforementioned defects Neither plaintiff
nor her physician(s) could have discovered the defects in the DePuy Pinnacle Hip through the
reasonable exercise of car'e.

50. The DePuy Pinnacle Hip had not been materially altered or modified prior to its
implantation in plaintiff

51. As a direct and proximate result of the failure of the defective DePuy Pinnacle

Hip, plaintiff has suffered the injuries and damages as described herein.

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SECOND CAUSE OF ACTI()N

(Negligence)
Against All Defendants

52. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further allege as follows:

53. At all times herein mentioned defendants had a duty to exercise reasonable care in
the design, manufacture, testing, inspection, labeling, and sale of the DePuy Pinnacle Hip to
ensure that it would be safely used in a manner and for a purpose for which it was made.

54. Defendants maliciously, recklessly and/or negligently failed to exercise ordinary
care in the design, manufacture, testing, advertising, marketing, and sale of the DePuy Pinnacle
Hip.

55. Defendants maliciously, recklessly and/or negligently failed in their duty to
exercise reasonable care in the provision of an adequate warning to plaintiff and plaintiff’s
physician(s) as to the risks of the DePuy Pinnacle Hip.

5 6. Defendants maliciously, recklessly and/or negligently failed to exercise
reasonable care in the post-marketing warnings as to the risks of the DePuy Pinnacle Hip when
they knew or should have known of said risks

57. As a result of defendants’ wrongful conduct, plaintiff has suffered injuries and

damages as alleged herein.

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THIRD CAUSE OF ACTION

(Negligent Misrepresentation)
Against All Defendants

58. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further allege as follows:

59. The defendants supplied false information to the public, to plaintiff and to
plaintiff’s physician(s) regarding the high-quality, safety and effectiveness of the Pinnacle Hip.

60. Defendants provided this false information to induce the public, plaintiff and
plaintiff’s physician(s) to purchase and implant a Pinnacle Hip.

61. The defendants knew or should have known that the information they supplied
regarding the purported high~quality, safety and effectiveness of the implant to induce plaintiff
and plaintiff’s physician(s) to purchase and use a Pinnacle Hip was false.

62. The defendants were negligent in obtaining or communicating false information
regarding the purported high-quality, safety and effectiveness of the Pinnacle Hip.

63. Plaintiff and plaintiff’s physician(s) relied on the false information supplied by
the defendants to their detriment by causing the Pinnacle Hip to be purchased and implanted in
plaintiff

64. Plaintiff and plaintiff’s physician(s) were justified in their reliance on the false
information supplied by the defendants regarding the purported high-quality, safety and
effectiveness of the Pinnacle Hip.

65. As a direct and proximate result of defendants' negligent misrepresentations,
plaintiff has suffered significant damages, including, but not limited to, permanent physical
injury, economic loss, pain and suffering and the need for a revision surgery to repair the

physical damage to plaintiff caused by the Pinnacle Hip.

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FOURTH CAUSE OF ACTION

(Breach of Implied Warranties)
Against All Defendants

66. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further alleges as follows:

67. Prior to the time that the DePuy Pinnacle Hip was used by plaintiff, defendants
impliedly warranted to plaintiff and plaintiff’s physician(s) that the DePuy Pinnacle Hip was of
merchantable quality and safe and fit for the use for which it was intended

68. Plaintiff and plaintiff’s physician(s) were and are unskilled in the research, design
and manufacture of the DePuy Pinnacle Hip, and they reasonably relied entirely on the skill,
judgment and implied warranty of defendants in using the DePuy Pinnacle Hip.

69. The DePuy Pinnacle Hip was neither safe for its intended use nor of merchantable
quality, as warranted by defendants, in that it had dangerous propensities when put to its
intended use and would cause severe injuries to the user.

70. Defendants, by selling, delivering and/or distributing the defective DePuy
Pinnacle Hip to plaintiff breached the implied warranty of merchantability and fitness and caused
plaintiff to suffer severe pain and emotional distress, incur medical expenses and incur a loss of
earning capacity.

71. As a result of the aforementioned breach of implied warranties by defendants,

plaintiff has suffered injuries and damages as alleged herein.

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FIFTH CAUSE OF ACTION

(Breach of Express Warranty)
Against All Defendants

72. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further allege as follows:

73. At all times herein mentioned, defendants expressly warranted to plaintiff and
plaintiff’s physician(s), by and through statements made by defendants or their authorized agents
or sales representatives, orally and in publications package inserts and other written materials
intended for physicians, medical patients and the general public, that the aforementioned DePuy
Pinnacle Hip was safe, effective, fit and proper for its intended use.

74. 1n utilizing the aforementioned DePuy Pinnacle Hip, plaintiff and plaintiff’s
physician(s) relied on the skill, judgment, representations and foregoing express warranties of
defendants

75. Said warranties and representations were false in that the aforementioned DePuy
Pinnacle Hip was not safe and was unfit for the uses for which it was intended.

76. As a result of the foregoing breach of express warranties by defendants, plaintiff

has suffered injuries and damages as alleged herein.

SIXTH CAUSE OF ACTION

(Fraud)
Against All Defendants

77. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further alleges as follows:
78. Defendants made representations to plaintiff and plaintiff’s physician(s) that their

Pinnacle Hip is a high-quality, safe and effective hip replacement system.

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79. Before they marketed the Pinnacle Hip that was implanted in plaintiff, defendants
knew or should have known of the unreasonable dangers and serious health risks that such a
metal-on-metal total hip replacement system posed to patients like plaintiff

80. As specifically described in detail above, defendants knew that the Pinnacle Hip
subjected patients to early failure, painful and harmful physical reactions to toxic metallic
particles and ions, death of tissue, bone loss and the need for explants and revision surgery.

81. Defendants' representations to plaintiff and plaintiff’s physician(s) that their
Pinnacle Hip was hi gh-quality, safe and effective were false.

82. Defendants concealed their knowledge of the unreasonable risks and dangers
associated with the use of the Pinnacle Hip to induce plaintiff and many thousands of others to
purchase the system for surgical implantation in their bodies

83. Neither plaintiff nor plaintiff’s physician(s) knew of the falsity of defendants
statements regarding the Pinnacle Hip.

84. Plaintiff and plaintiff’s physician(s) relied upon and accepted as truthful
defendants' representations regarding the Pinnacle Hip.

85. Plaintiff and plaintiff’s physician(s) had a right to rely on defendants'
representations and in fact did rely upon such representations Had plaintiff known that the
Pinnacle Hip would fail early and expose plaintiff to the unreasonable risk of toxic metals,
metallosis and multiple revision surgeries plaintiff would not have purchased or allowed the
Pinnacle Hip to have been surgically implanted.

86. As a direct and proximate result of defendants' fraudulent representations
plaintiff has suffered significant damages including, but not limited to, permanent physical

injury, economic loss and pain and suffering caused by the Pinnacle Hip.

Complaint for Damages
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SEVENTH CAUSE OF ACTION

(Punitive Damages)
Against All Defendants

87. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further allege as follows:
88. Through their actions as described herein, Defendants consciously, intentionally,
and/or deliberately disregarded the rights and safety of Plaintiff CRYSTAL RUEB and others
89. Accordingly, plaintiff is entitled to punitive damages
PRAYER FOR RELIEF

WHEREFORE, plaintiff demands judgment for the following:

1. Past and future medical and incidental expenses according to proof;
2. Past and future loss of earnings and/or earning capacity, according to proof;
3. Past and future compensatory damages including but not limited to pain and

suffering for severe and permanent injuries according to proof;

4. Punitive and exemplary damages in an amount to be determined at trial;
5. Prejudgment and post judgment interest;

6. Attorneys’ fees and costs to bring this action; and

7. Such other and further relief as the court may deem just and proper.

Complaint for Damages
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.]URY AND TRIAL DEMANDED

Please take notice that plaintiff hereby demands a trial by jury as to all issues in the above

matter.

nath this rSt day Or Aprrr 2015.

Respectfully submitted,

s/Seth A. Katz

Seth A. Katz

Peter W. Burg

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Attorneys for Plainti]j”,
CRYSTAL RUEB

Complaint for Damages

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